                  Case 20-10343-LSS         Doc 1499       Filed 10/13/20       Page 1 of 17




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    BOY SCOUTS OF AMERICA AND                                Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                             Jointly Administered
                                 Debtors.
                                                             Ref. Docket No. 1164


    REPLY BRIEF OF HARTFORD ACCIDENT AND INDEMNITY COMPANY, FIRST
    STATE INSURANCE COMPANY, TWIN CITY FIRE INSURANCE COMPANY AND
       CENTURY INDEMNITY COMPANY IN SUPPORT OF (I) CENTURY AND
     HARTFORD’S MOTION TO COMPEL THE ATTORNEYS REPRESENTING THE
    ENTITY CALLING ITSELF THE “COALITION” TO SUBMIT THE DISCLOSURES
        REQUIRED BY FEDERAL RULE OF BANKRUPTCY PROCEDURE 2019

             Hartford Accident and Indemnity Company, First State Insurance Company and Twin City

Fire Insurance Company (collectively, “Hartford”) and Century Indemnity Company, as successor

to CCI Insurance Company, as successor to Insurance Company of North America and Indemnity

Insurance Company of North America, Westchester Fire Insurance Company and Westchester

Surplus Lines Insurance Company (“Century”) respectfully submit this reply in support of Century

and Hartford’s Motion to Compel the Attorneys Representing the Entity Calling Itself the

“Coalition” to Submit the Disclosures Required by Federal Rule of Bankruptcy Procedure 2019

(Aug. 26, 2020) [D.I. 1164] (the “Motion”).

             The entity calling itself the Coalition of Abused Scouts For Justice (the “Coalition”) has

tried to divert attention from the shortcomings in its filings by purporting to shuffle its membership

and supplementing its Rule 2019 disclosures; however, these changes make the situation worse


1
          The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’
mailing address is 1325 West Walnut Law, Irving, Texas 75038.
                                                       1
             Case 20-10343-LSS          Doc 1499      Filed 10/13/20     Page 2 of 17




and not better leaving the Coalition falling short of what Rule 2019 requires. As the district court

in Baron & Budd, P.C. v. Unsecured Asbestos Claimants, 321 B.R. 147 (D.N.J. 2005) made clear,

adequate disclosure here is not a pro forma requirement particularly where, as here, there is

legitimate cause for concern given the disclosure of an e-mail setting out how Coalition intends to

supplant the Official Tort Claimants’ Committee (“Committee”) and the explosion in the number

of claimants the Coalition purports to represent, which now exceeds 28,000. Hartford, Century

and other parties in interest have a valid interest in understanding the extent to which the Coalition

properly represents these claimants, many of whom never affirmatively approved formation of the

Coalition or engagement of Coalition Counsel (as defined herein).

       The Coalition must make a complete showing as to whom it is empowered to represent so

that the other parties know what interests are at the table. So far, the Coalition has not done so.

Accordingly, the Court should deny the Coalition’s motions; before permitting the Coalition to

participate fully in these cases, including in mediation, the Court should require the Coalition to

produce additional information including (i) all of the by-laws and other foundational documents

that empower Coalition Counsel to represent the Coalition; (ii) all other documents that reflect any

financial relationship between any of the Coalition members and their counsel, or between and

among various state court counsel that promote or are part of the Coalition (such as fee sharing

arrangements); and (iii) documents that establish that there are legitimate attorney-client

relationships between the individual claimants, their respective counsel, and authorizing the

retention of Brown Rudnick LLP (“Brown Rudnick”) and Monzack Mersky Browder and

Hochman, P.A. (“Monzack Mersky”) as counsel to the Coalition (“Coalition Counsel”).




                                                  2
               Case 20-10343-LSS            Doc 1499        Filed 10/13/20        Page 3 of 17




                                              BACKGROUND

        Plaintiffs’ Counsel Establishes the Coalition

        1.       On July 29, 2020, the Coalition filed Rule 2019 disclosures with this Court.

Verified Statement of Coalition of Abused Scouts for Justice Pursuant to Bankruptcy Rule 2019

(July 29, 2020) [D.I. 1040]. In that filing, the Coalition purported to represent more than 10,000

claimants with abuse claims against Debtors -- an unprecedented increase from the level of pre-

petition claims. Id. ¶ 2. Those disclosures, however, did not provide any information to

substantiate that claim -- they did not identify the facts and circumstances of the Coalition’s

organization, the persons or entities whose financial interests are represented by the Coalition, or

supply any other information to show that the Coalition was empowered to represent those

interests.

        2.       On August 14, 2020, the Coalition filed its First Amended Rule 2019 Disclosures.

Amended Verified Statement of Coalition of Abused Scouts for Justice Pursuant to Bankruptcy

Rule 2019 (Aug. 14, 2020) [D.I. 1106] (“First Amended Rule 2019 Disclosures”).                             That

disclosure reaffirmed that the Coalition represents more than 10,000 claimants, but did not

provide any further information to substantiate that claim, nor to establish the facts and

circumstances of the Coalition’s creation or engagement of Coalition Counsel. 2

        Century and Hartford Object to the Insufficient Disclosures by the Coalition

        3.       On August 24, 2020, the Coalition filed its Motion of the Coalition of Abused

Scouts for Justice for an Order (I) Authorizing the Coalition to File Under Seal Exhibit A to the

Amended 2019 Statement and (II) Approving the Sufficiency of the Amended 2019 Statement.



2
         In addition to Brown Rudnick, Blank Rome LLP (“Blank Rome”) was originally selected as Delaware
counsel for the Coalition. After potential conflicts of interest surfaced, Blank Rome withdrew in favor of Monzack
Mersky.
                                                        3
               Case 20-10343-LSS             Doc 1499        Filed 10/13/20        Page 4 of 17




[D.I. 1114] (“2019 Approval Motion”). In connection with that motion, the Coalition filed, under

seal (i) a spreadsheet listing individual claimholders; (ii) a redacted retention letter for Brown

Rudnick; and (iii) redacted form engagement letters for the six state court counsel law firms

(“State Court Counsel”) firms purporting to engage the Coalition. 3 The motion did not provide

any further information concerning the formation of the Coalition.

        4.       On August 26, 2020, the Coalition filed a motion to participate in the mediation

as a Mediation Party. Motion of the Coalition of Abused Scouts for Justice to Participate in the

Mediation (Aug. 26, 2020) [D.I. 1161].

        5.       On August 26, 2020, Century and Hartford filed the Motion, requesting that the

Court enter an order requiring counsel for the Coalition to comply in full with Federal Rule of

Bankruptcy Procedure Rule 2019. Century and Hartford noted that the Amended Rule 2019

Disclosures that Brown Rudnick filed on behalf of the Coalition were insufficient because they

failed to identify (i) who the members of the “Coalition” are; (ii) did not provide required

information about the organization and decision making structure of the Coalition; and (iii)

provided improperly redacted information regarding the basis on which counsel for the Coalition

had been retained and/or empowered to act. See Motion at 2, 25 and Exhibit A. Century and

Hartford accordingly requested that this Court compel full disclosure concerning the facts and

circumstances of the Coalition’s creation, its membership and the retention of counsel, including

consent, if any, to retain Brown Rudnick. Id. at 19, 22-23 and Exhibit A.

        6.       On September 2, 2020, counsel for the Coalition filed its objection to the Motion.

Objection of the Coalition of Abused Scouts for Justice to Century and Hartford’s Motion to



3
        The original State Court Counsel originating the Coalition are identified as Eisenberg, Rothweiler, Winkler,
Eisenberg & Jeck, P.C., Kosnoff Law PLLC, AVA Law Group, Inc., Andrews & Thornton, ASK LLP, and Slater
Schulman, LLP. Id. at 1, n. 2.
                                                         4
             Case 20-10343-LSS         Doc 1499      Filed 10/13/20    Page 5 of 17




Compel the Attorneys Representing the Entity Calling Itself the “Coalition” to Submit the

Disclosures Required by Federal Rule of Bankruptcy Procedure 2019 (Sept. 2, 2020) [D.I. 1225].

       7.      Also on September 2, Hartford and a number of other creditors and other parties

in interest filed objections to the 2019 Approval Motion.

       8.      On September 9, 2020, the Court held a hearing on the Coalition’s request to file

under seal some of the documents that it provided on August 26 as a supplement to its disclosures.

In particular, the Coalition sought to seal the spreadsheet containing personal identifying

information, as well as portions of the engagement agreements. During the course of that hearing,

the Court directed the Coalition to provide Hartford and other parties in interest with unredacted

copies of the engagement agreements (except for fee information) so that the parties could

ascertain whether their production comports with the requirements of Rule 2019. At that hearing,

Hartford and others (including the Committee) asked the Court to continue the hearing on the

motions pertaining to the merits of the Rule 2019 disclosures to provide the parties the

opportunity to review the unredacted documents, including to consider the ethical issues raised

by the engagement agreements. The Court agreed and continued the hearing on the Motion, the

Coalition’s motion seeking a ruling that its disclosures are adequate, and the Coalition’s motion

to participate in the mediation. See Sept. 9, 2020 Hearing Tr. at 125 (relevant portions attached

hereto as Exhibit 1).

       The Coalition’s First Amended Rule 2019 Disclosures Were Insufficient

       9.      Following the September 9, 2020 hearing, Hartford and Century consulted with

Professor Nancy Moore, a nationally-recognized expert in legal ethics and professor at Boston

University School of Law and requested that she review the Coalition’s Amended Rule 2019

Disclosures and supporting documents. See Declaration of Nancy J. Moore (Oct. 7, 2020)

                                                 5
             Case 20-10343-LSS        Doc 1499       Filed 10/13/20   Page 6 of 17




(“Moore Decl.”; attached hereto as Exhibit 2).

       10.    Professor Moore concluded that material inconsistencies in the Coalition’s initial

disclosure documents leave a number of critical, unanswered questions about who the Coalition

is, what interests it represents, and whether Coalition Counsel -- Brown Rudnick and Monzack

Mersky -- have a proper attorney client relationship with the Coalition and/or the State Court

Counsel firms that retained Coalition Counsel:

                  a. The First Amended Rule 2019 Disclosures did not contain any information
                     regarding who the members of the Coalition are, nor who engaged Brown
                     Rudnick to serve as counsel for the Coalition. See Rule 2019(c)(2)(A).
                     For example, Brown Rudnick’s engagement letter states that Brown
                     Rudnick is being retained only by the “Ad Hoc Committee,” and that
                     Brown Rudnick does not represent individual clients. Yet the State Court
                     Counsel firms that executed the engagement expressly did so on behalf of
                     their “respective Law Firm Clients.” See Moore Decl. ¶¶ 8-9; Rule 2019
                     (c)(1)(A), Rule 2019 (c)(4).

                  b. Nor is it apparent that the six originating law firms had the authority to
                     engage Brown Rudnick in any event. The exemplar engagement
                     agreements provided by State Court Counsel authorized the firms to
                     associate co-counsel who would provide additional representation of the
                     individual claimant in the prosecution of their claim -- they did not confer
                     authority to form a wholly separate organization (the Coalition) that would
                     then retain counsel to represent its interests. See Moore Decl. ¶ 10. That
                     distinction is critical here, where Brown Rudnick’s own retention letter
                     clearly contemplates that conflicts may arise between the interests of
                     various Coalition members. See id. ¶¶ 15-17.

                  c. The First Amended 2019 Disclosures also made clear that the state law
                     firms did not have their clients’ respective informed written consent to
                     form the Coalition and engage Brown Rudnick. The form of notice that
                     the Coalition included with its disclosures indicates that the Coalition had
                     already been formed at the time notice was provided. See Moore Decl.
                     ¶ 10. And, even if consent could be provided after the fact, the Amended
                     Disclosures provided no documentation suggesting that such consent was
                     ever provided by any (let alone all) of the individual claimants. See id.
                     ¶ 18.

                  d. Some, if not all, of the originating law firms themselves lacked the ability
                     to engage Brown Rudnick on behalf of their respective clients because
                     those firms’ own retention agreements failed to meet various ethical

                                                 6
             Case 20-10343-LSS         Doc 1499      Filed 10/13/20    Page 7 of 17




                       requirements. See Moore Decl. ¶¶ 19-24. Critically, the State Court
                       Counsel agreements did not disclose to their own clients that they were
                       representing multiple clients with potentially conflicting interests in the
                       bankruptcy case. See id.

       11.     Under these circumstances, there were significant questions concerning whether

the Coalition had made sufficient disclosures under Rule 2019 to establish who its members

actually were, how the Coalition came to have the capacity to act, and what authority Brown

Rudnick, as its counsel, would have to act on its behalf.

       The Second Amended Rule 2019 Disclosures

       12.     On October 7, 2020 -- just six days ago -- the Coalition filed its Second Amended

Rule 2019 Disclosures. Second Amended Verified Statement of Coalition of Abused Scouts for

Justice Pursuant to Bankruptcy Rule 2019 (Oct. 7, 2020) [D.I. 1429] (“Second Amended Rule

2019 Disclosures”).

       13.     The Second Amended 2019 Disclosures do not cure the infirmities of the

Coalition’s prior submissions. Rather, the Second Amended Rule 2019 Disclosures increase

concerns about the likelihood that the Coalition is seeking to manufacture vast numbers of claims

as part of an effort to take over control of these cases because the Second Amended Rule 2019

Disclosures now reports that the Coalition numbers exceed 28,000 claims -- a number that simply

cannot be squared with the Debtors’ experience in the tort system or prior abuse-focused

bankruptcy cases. Second Amended Rule 2019 Disclosures ¶ 2.

       14.     Earlier this year, Tim Kosnoff of Kosnoff Law PLLC, one of the flagship firms

behind the formation of the Coalition, sent colleagues (and, inadvertently, to the Committee) an

e-mail which lays out the plan for the Coalition to form a voting bloc to take control away from

the Committee, as Mr. Kosnoff put it: “They are wasting their time talking to the [Committee].

Here is the message: We control 80% of the claims, i.e., our coalition controls the case.” See
                                                 7
             Case 20-10343-LSS         Doc 1499      Filed 10/13/20    Page 8 of 17




Exhibit 1 to Notice of Filing of Exhibit In Support of the Objection of the Tort Claimants’

Committee to Motion of the Coalition of Abused Scouts for Justice for an Order (I) Authorizing

the Coalition to File Under Seal Exhibit A to the Amended 2019 Statement and (II) Approving

the Sufficiency of the Amended 2019 Statement (Sep. 8, 2020) [D.I. 1285-1] (emphasis added).

In furtherance of that goal, Mr. Kosnoff and his colleague Mr. Van Arsdale (the sole attorney of

record at AVA Law Group, Inc.) were instrumental in a comprehensive advertising campaign

that this Court found contained misleading elements, including promises of a $1.5 billion trust

fund and guarantees of complete anonymity. The Court subsequently entered an order prohibiting

Kosnoff Law and AVA Law Group (among others) from engaging in similarly misleading

advertising programs.

       15.     The Second Amended Rule 2019 Disclosures state that Kosnoff Law and AVA

Law Group “and their principals have resigned from the Coalition.” See Second Amended Rule

2019 Disclosures at 4, n. 3. But the Coalition is opaque as to what that means. The claimants

that these entities represent “remain Coalition Members,” and the law firm of Eisenberg,

Rothweiler, Winkler, Eisenberg & Jeck, P.C., continues to participate in the Coalition as does

Abused in Scouting (AIS), an organization affiliated with Kosnoff Law and AVA Law Group.

Id. Kosnoff Law and AVA Law Group have fee sharing arrangements with the Eisenberg firm,

and undoubtedly participate, at least informally, in determining the Coalition’s strategy. By Mr.

Kosnoff’s own admission in his motion to quash his deposition, he still “currently [as of October

7] represent[s] several thousand claimant victims of abuse. . . . Mr. Kosnoff’s list of clients is

growing . . . .” Motion of Tim Kosnoff, Esquire for Protective Order and to Quash Notice of

Deposition ¶ 3 (Oct. 7, 2020) [D.I. 1420]. The Coalition’s most recent disclosures provide no

information regarding Kosnoff Law and AVA Law Group’s role in the Coalition’s decision-

                                                 8
              Case 20-10343-LSS           Doc 1499       Filed 10/13/20       Page 9 of 17




making process and Mr. Kosnoff refused to appear for his properly noticed deposition to answer

any questions.

        16.      Moreover, the disclosures continue to leave unanswered many of the same

questions about the nature of the Coalition and the capacity of its counsel to act. Once again,

Century and Hartford consulted with Professor Moore, who reviewed the Second Amended Rule

2019 Disclosures, and concluded that they present many of the same informational deficits. See

Supplemental Declaration of Nancy J. Moore (Oct. 13, 2020) (“Supp. Moore Decl.”; attached as

Exhibit 3):

                    a. Indeed, from the disclosures it still is not even clear just who the
                       “Coalition” actually is. At one point, the Disclosure states that the
                       Coalition “is comprised of more than 28,000 Sexual Abuse Survivors.”
                       See Second Amended Rule 2019 Disclosures ¶ 2. Just a few paragraphs
                       later, the disclosure states that the Coalition created an advisory board of
                       five claimants “to participate in meetings of the Coalition and assist in
                       deliberation concerning actions taken by the Coalition.” Id. ¶ 5. Those
                       statements cannot be reconciled with one another. This is a critical
                       requirement of Rule 2019(c)(3), and it is similarly critical if the Coalition
                       is to participate in these cases, for example, as a mediation party. The
                       other parties in interest are entitled to know precisely whom the Coalition
                       purports to represent. See Supp. Moore Decl. ¶ 13.

                    b. Similarly, it is unclear who makes decisions on behalf of the Coalition and,
                       who has “authoriz[ed] the entity, group, or committee” to act on behalf of
                       the Coalition’s members. The Second Amended Rule 2019 Disclosures
                       contain numerous references to the Coalition’s “by-laws” as the document
                       that permits additional law firms -- including the six additional State Court
                       counsel -- to join the Coalition as “New Voting Representatives.” 4 See
                       Amendment and Joinder to Engagement Letters at 1-2 [D.I. 1429-1].
                       Those by-laws are at the core of determining the Coalition’s authorization
                       to act on behalf of certain claimants, but have not been produced. See
                       Supp. Moore Decl. ¶ 12.

                    c. Moreover, to the extent that the Coalition members are individual
                       claimants, there is no evidence that the members authorized the retention
                       of bankruptcy counsel. The New Law Firms submitted, as part of the

4
        The New Law Firms are Motley Rice LLC (“Motley Rice”); Napoli Shkolnik PLLC (“Napoli”); Marc J. Bern
& Partners LLP (“Bern”); Junell & Associates (“Junell”); Reich & Binstock LLP (“Reich”) and Krause & Kinsman
Law Firm (“Krause”).
                                                     9
             Case 20-10343-LSS       Doc 1499       Filed 10/13/20    Page 10 of 17




                     amended disclosures, exemplar retention agreements that suffer many of
                     the same defects as the originating firms. Some (but not all) of these
                     retention agreements -- like those of the originating law firms -- state that
                     the New Law Firms may associate in additional counsel. See Supp. Moore
                     Decl. ¶ 11. But those agreements allow for association of counsel to
                     represent the claimants’ individual claims, not to associate with lawyers
                     that may have other individuals with conflicting interests. See id. ¶ 14.

                  d. The Coalition tried to fix this problem through notice and consent
                     procedures. But those procedures were flawed. The notification of the
                     engagement of Brown Rudnick, for example, was ineffective because it
                     was sent after Brown Rudnick was already engaged and did not provide
                     claimants with the opportunity to consult about the retention. See Supp.
                     Moore Decl. ¶ 15.

                  e. The Coalition also tried to seek, on a post hoc basis, approval of the
                     claimants of the retention of Coalition Counsel. But the Second Amended
                     Rule 2019 Disclosures do not provide sufficient information to capture
                     whether that effort was sufficient and effective. There is no evidence that
                     claimants were informed of potential conflicts. Nor is there evidence that
                     claimants were informed of their right to decline. See Supp. Moore Decl.
                     ¶ 16. Finally, the Disclosure indicates that only about 4,500 of more than
                     28,000 claimants affirmatively agreed to the bankruptcy counsel retention.
                     See Second Amended Rule 2019 Disclosures ¶ 13. But there is no
                     information regarding the other 23,500+ claimants, including whether any
                     have rejected the retention proposal. In other words, assuming the
                     claimants are the Coalition’s members, there is not sufficient detail to
                     identify which claimants have actually authorized coalition counsel to act
                     on their behalf.

                  f. Finally, the Second Amended Rule 2019 Disclosures do not provide
                     enough information to determine whether the individual law firms,
                     including the New Law Firms, had the capacity to retain Coalition
                     Counsel. In particular, because Brown Rudnick (as it acknowledged) had
                     potential conflicts of interest among claimants represented by different law
                     firms, the individual firms had a duty to notify their respective clients of
                     the potential conflicts before entering into an agreement with Brown
                     Rudnick. See Supp. Moore Decl. ¶ 18. The Second Amended Rule 2019
                     Disclosures do not provide information as to whether this information was
                     ever conveyed.

       17.     The Second Amended Rule 2019 Disclosures, in other words, do not provide

fulsome information concerning who are properly members of the Coalition, the facts and

circumstances surrounding the formation of the Coalition and the persons or entities for whom

                                               10
             Case 20-10343-LSS         Doc 1499       Filed 10/13/20    Page 11 of 17




the Coalition purports to act. The Court should order complete disclosure on these issues.

                                          ARGUMENT

       18.     The disclosure requirements of Rule 2019 are critical to ensuring an open

bankruptcy process that is able to keep a check on conflicts that could endanger fair treatment of

creditors. In contrast to official appointed committees that are appointed and that bear a fiduciary

duty to the entire class of interests they represent, ad hoc committees, such as the Coalition, are

not so bound. In such a case, Rule 2019 disclosures play a critical role in ensuring that the

interests that are being represented are out in the open, and that an ad hoc group is not formed to

covertly take control of a case at the expense of other creditors. Consequently, Rule 2019 requires

disclosure of not simply the list of names of ad hoc committee members. It also requires

disclosure of the facts and circumstances of the committee’s formation and the facts (and

documents) that empower the committee to act on behalf of its members.

       19.     To date, the Coalition has provided (i) a listing of claimants, which it contends are

the Coalition’s members, (ii) the engagement letters for Coalition Counsel (along with the

amendments thereto), (iii) exemplars of engagement letters from the State Court Counsel

(including the New Law Firms), and (iv) a narrative description of the Coalition which appears

to take inconsistent positions, stating that the claimants form the Coalition in some places, but

suggesting that the State Court Counsel constitute the Coalition in other places. But the Coalition

has not produced critical documents, such as by-laws, that “authorize” the Coalition to act on

behalf of its members. Nor has the Coalition produced documents that resolve the inconsistencies

concerning who makes up the Coalition and how does Coalition Counsel act on its behalf. And,

critically, to the extent that the Coalition contends that the engagements agreements are the

“empowering documents,” the Coalition’s Second Amended Rule 2019 Disclosures offer no facts

                                                 11
             Case 20-10343-LSS        Doc 1499        Filed 10/13/20    Page 12 of 17




or documents to resolve the potential ethical issues that may negate their effectiveness.

       20.     The Coalition asserts that it disputes that there are any ethical issues, but it does

not seriously refute them. Rather, the Coalition’s central argument is that Rule 2019 is a

disclosure provision, not an “ethics enforcement” provision; accordingly, it should be permitted

to participate in these bankruptcy cases because it has disclosed client names, exemplar retention

agreements and the Coalition Counsel (Brown Rudnick and Monzack Mersky) retention

agreements. But that simplistic argument fails for a couple of reasons.

       21.     First, with respect to disclosure, the Coalition cannot credibly claim that it has met

the requirements of the rule because its own disclosures make clear that documents are missing.

The retention agreements between Brown Rudnick and the New Law Firms, for example, state

that the law firms are “New Voting Representatives” and reference Coalition by-laws that clearly

are intended to empower the Coalition to act on behalf of its members. See Amendment and

Joinder to Engagement Letters [D.I. 1429-1]. The by-laws (and any other documents that create

these “voting rights” of the law firms) are the type of written instrument “authorizing the entity,

group, or committee to act on behalf of creditors” that must be disclosed. See Rule 2019(c)(4).

In addition, it is unclear whether there are other writings that authorize the law firms that serve

on the Coalition to act on behalf of individual claimants, including any claimants that are not

represented by the ten law firms that appear to have retained Coalition Counsel.

       22.     Second, the disclosure requirements of Rule 2019 are inextricably linked to

ensuring compliance with ethical obligations of counsel that are engaged to represent an ad hoc

committee and/or its members. See, e.g., In re Imperial “400” Nat’l, Inc., 481 F.2d 41, 55 (3d

Cir. 1973) (“[I]t is apparent that the same concerns which are embodied in the Code of

Professional Responsibility are also present in the statutory scheme governing corporate

                                                 12
             Case 20-10343-LSS         Doc 1499       Filed 10/13/20     Page 13 of 17




reorganizations under the Bankruptcy laws.”); Baron & Budd, P.C. v. Unsecured Asbestos

Claimants, 321 B.R. 147, 163 (D.N.J. 2005) (“Regulation of professional responsibility with

respect to creditors’ or debtors’ counsel, moreover, is squarely within the purview of the

bankruptcy court regardless of whether third party, nondebtors are involved.”); In re the Muralo

Co. Inc., 295 B.R. 512, 524 (Bankr. D.N.J. 2003) (Rule 2019 “is designed to foster the goal of

reorganization plans which deal fairly with creditors and which are arrived at openly.”).

       23.     In this case, the Coalition contends that its “empowering documents” consist of

(i) the Coalition Counsel (i.e., Brown Rudnick) retention agreement, as amended; (ii) the

individual State Court Counsel retention agreements with their respective clients; and (iii) the

notice of engagement of Coalition Counsel provided to individual claimants. At the September

9 hearing, Coalition Counsel suggested that these three categories of documents made the base

for a “three-legged stool” on which the Rule 2019 disclosures stand. See Sept. 9, 2020 Hearing

Tr. at 89-91 (Exhibit 1). But that stool can only stand if the legs themselves are not rotted out, as

the Committee’s counsel informed the Court at the hearing: “If the law firms have ethical issues

in connection with their underlying retentions, then I think it, in effect, infects Brown Rudnick’s

ability to represent people. . . . Everything in the Brown Rudnick engagement letter goes through

the law firms.” Id. at 112. In other words, this is not just an issue of ethical compliance because

it goes to the very issue of whom Brown Rudnick is empowered to represent.

       24.     Here, in the absence of additional disclosure from the Coalition, there is

substantial evidence that, in fact, all three legs of the stool may have holes. See In the Matter of

F&C Int’l, Inc., 1994 Bankr. LEXIS 274, *8 (Bankr. S.D. Ohio Feb. 18, 1994) (absent

compliance with Rule 2019, there is a danger that “parties purporting to act on another’s behalf

may not be authorized to do so and may receive distributions to which they are not entitled”). As

                                                 13
             Case 20-10343-LSS         Doc 1499       Filed 10/13/20    Page 14 of 17




Professor Moore explains in her declarations, it appears that the State Court Counsel, including

the New Law Firms, lacked the authority from their clients to engage Coalition Counsel because

(i) the engagement did not comport with the scope of associating in counsel that is provided for

in any of the individual retainer agreements, and (ii) at any rate, it appears that all of the State

Court Counsel law firms failed to appropriately disclose potential conflicts of interest and seek

consent. See, e.g., Moore Decl. ¶¶ 10, 19-24; Supp. Moore Decl. ¶¶ 11, 18.

       25.      The form notice that the Coalition disclosed informing claimants of the retention

of Coalition Counsel was also ineffective because it came only after the fact of engaging Brown

Rudnick and failed to provide meaningful notice and opportunity to discuss potential conflicts.

See Supp. Moore Decl. ¶¶ 11, 16. And it is unclear, at best, whether the affirmative request for

consent by the law firms fixes this problem, because only 4,500 of more than 28,000 claimants

(16%) have given that consent. See id. ¶ 11.

       26.     Finally, the Coalition has not met its burden to show that the State Court Counsel

retentions themselves permit State Court Counsel to engage Coalition Counsel. The State Court

Counsel agreements do not disclose potential conflicts of interest and some of them contain

numerous other provisions, such as provisions requiring counsel’s consent to settle, that

improperly burden the client’s right to control their claim. See Moore Decl. ¶¶ 19-24; Supp.

Moore Decl. ¶ 19. To establish that the three legs of its stool are solid, in other words, the

Coalition must disclose all of the documents and other information to show that Coalition

members were properly notified and gave informed consent to formation of the Coalition such

that it is empowered to act on behalf of its putative membership.

       27.     It is particularly important in this case to understand from whom Coalition

Counsel takes direction as well as whether, and the extent to which, the Coalition and Coalition

                                                 14
             Case 20-10343-LSS          Doc 1499       Filed 10/13/20    Page 15 of 17




Counsel is empowered to represent individual claimants. Fulsome disclosure is important for any

ad hoc committee such as the Coalition that does not purport to represent the interests of other

creditors beyond its members. See, e.g., In re the Muralo Co. Inc., 295 B.R. at 524 (Rule 2019

fosters goal of reorganization plans that are arrived at openly).

       28.     Here, those concerns are heightened even further. Mr. Kosnoff’s e-mail, the false

and misleading advertising claims made by several of the firms now forming the Coalition, and

the unprecedented explosion of claims all suggest that the Coalition is seeking to represent

narrower interests than the broader body of claimholders that the Committee already represents.

And, while representing that distinct interest, the Coalition intends to create a substantive,

blocking vote for or against any proposed plan, as Mr. Kosnoff’s e-mail makes clear. To the

extent that the Coalition intends to supplant the Committee -- in whole or even in part -- Rule

2019 is intended to make sure that those interests are out in the open, so that all parties understand

what interests are being represented.

       29.     For the same reasons, the Coalition’s request to participate in the mediation is

premature when its Rule 2019 obligations remain extant. As things currently stand, it is unclear

who empowers the Coalition to act and whether the claimants that may be members of the

Coalition can be said to have authorized Coalition Counsel to act on their behalf. Other parties

to the mediation cannot even be sure with whom they are negotiating. That is what Rule 2019 is

intended to prevent; bankruptcy courts have prohibited unofficial committees from acting absent

compliance with Rule 2019. See, e.g., Oklahoma P.A.C., 122 B.R. 387, 390 (Bankr. D. Ariz.

1990); In re Vestra Indus., Inc., 82 B.R. 21, 22 (Bankr. D.S.C. 1987).

       30.     The Court accordingly should deny the Coalition’s motion for a ruling that they

have fully complied with Rule 2019, deny the Coalition’s motion to participate in the mediation

                                                  15
            Case 20-10343-LSS          Doc 1499        Filed 10/13/20   Page 16 of 17




as premature, and grant the Motion, and enter an order requiring the Coalition to produce, without

further delay: (i) all of the Coalition’s documents empowering it to act, including the Coalition

by-laws and any other documents that inform the powers of a “Voting Representative” to act; (ii)

all other documents that reflect any financial relationship between any of the Coalition members

and their counsel, or between and among various State Court Counsel that promote or are part of

the Coalition (such as fee sharing arrangements); and (iii) documents that establish that there are

legitimate attorney-client relationships between the individual claimants, their respective counsel,

and authorizing the retention of Brown Rudnick and Monzack Mersky as Coalition Counsel.

                                         CONCLUSION

       Hartford and Century respectfully request that the Court grant Century and Hartford’s

Motion, direct the Coalition to make all disclosures required under Rule 2019 and preclude the

Coalition from participating further in these cases until such disclosures are made.

Date: October 13, 2020                       BAYARD, P.A.
 Wilmington, Delaware
                                              /s/ Gregory J. Flasser
                                             Erin R. Fay (No. 5268)
                                             Gregory J. Flasser (No. 6154)
                                             600 North King Street, Suite 400
                                             Wilmington, Delaware 19801
                                             Telephone: (302) 655-5000
                                             Facsimile: (302) 658-6395
                                             Email: efay@bayardlaw.com
                                                     gflasser@bayardlaw.com

                                             - and -

                                             James P. Ruggeri (admitted pro hac vice)
                                             Joshua D. Weinberg (admitted pro hac vice)
                                             SHIPMAN & GOODWIN LLP
                                             1875 K Street, NW, Suite 600
                                             Washington, DC 20003
                                             Tel: (202) 469-7750
                                             Fax: (202) 469-7751

                                                 16
Case 20-10343-LSS   Doc 1499    Filed 10/13/20   Page 17 of 17




                        Attorneys for First State Insurance Company,
                        Hartford Accident and Indemnity Company and
                        Twin City Fire Insurance Company

                        STAMOULIS & WEINBLATT LLC

                        /s/ Stamatios Stamoulis
                        Stamatios Stamoulis (#4606)
                        800 N. West Street
                        Third Floor
                        Wilmington, Delaware 19801
                        Tel.: (302) 999-1540
                        Fax: (302) 762-1688

                        Tancred Schiavoni (pro hac vice)
                        Janine Panchok-Berry (pro hac vice)
                        O’MELVENY & MYERS LLP
                        Times Square Tower
                        7 Times Square
                        New York, New York 10036-6537
                        Tel.: (212) 326-2000
                        Fax: (212) 326-2061

                        Counsel for Century Indemnity Company, as
                        successor to CCI Insurance Company, as successor
                        to Insurance Company of North America and
                        Indemnity Insurance Company of North America,
                        Westchester Fire Insurance Company and
                        Westchester Surplus Lines Insurance Company




                           17
